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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:20−cr−00299
                                                         Honorable Robert M. Dow Jr.
Hardy Lee Browner
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 13, 2020:


        MINUTE entry before the Honorable Robert M. Dow, Jr. as to Hardy Lee
Browner: The status hearing set for 8/14/2020 at 9:45 a.m. will proceed so that the Court
can set a date for the pre−trial conference and a date for a further status hearing. The
call−in information for the 8/14/2020 hearing is as follows: Please use the Court's
toll−free call−in number 877−336−1829, conference access code is 6963747. Mailed
notice (cdh, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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